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IN THE UNITED sTATEs DISTRICT coURT F"‘ED BY "'"‘
FoR THE wEsTERN DIsTRIcT oF TENNESSEE ,
wESTERN DIvIsIoN 05 JUL 28 AH 6- 55
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.“YP*<;TII)LRT
JEH, INC., ET AL., C!_ER(,¥,J|‘SN>._ ‘
W!§) \f;- §\\z~\_-_%e'HiS
Plaintiffs,
VS' No. 05-2509-Mav

VOLVO CONSTRUCTION EQUIPMENT,
RENTS, INC. , E'I' AL. ,

Defendants.

 

ORDER GR.ANTING MOTION TO APPEAR PRO HAC' VICE

 

Before the court is the July 26, 2005, motion for admission
pro hac vice of Michael J. Lockerby. Mr. Lockerby is a member in
good standing of the bar of the state of Virginia and is admitted
to practice before the Virginia Supreme Court, the United States
District Court for the Eastern District of Virginia, the United
States Courts of Appeal for the Third, Fourth, Fifth, Sixth,
Seventh, and Eleventh Circuits, and the Supreme Court of the
United States. Mr. Lockerby has obtained and is familiar with
the local rules and professional guidelines of this court. For

good cause shown, the motion is granted and Michael J. Lockerby

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with Rule ed and/orTQ(a) FRCP en z_ez¢ .'. Q §

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is admitted to participate in this action as counsel for
defendants Volvo Construction Equipment Rents, Inc. and Volvo
Construction Equipment North America, Inc.

It; is so oRDERED this °"'A\day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CV-02509 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

